                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ALASKA

BRISTOL BAY ECONOMIC
DEVELOPMENT CORPORATION, et
al.,

                 Plaintiffs,
          v.                              Case No. 3:19-cv-00265-SLG
MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of     (Consolidated)
the U.S. Environmental Protection
Agency Region 10, et al.,

                 Defendants,

          and

STATE OF ALASKA, et al.,

                 Intervenor-Defendants.



SALMONSTATE, et al.,

                   Plaintiffs,

            v.                            Case No.. 3:19-cv-00267-SLG

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of
the U.S. Environmental Protection
Agency Region 10, et al.,

                   Defendants.




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TROUT UNLIMITED,

                     Plaintiffs,
              v.                                  Case No. 3:19-cv-00268-SLG
MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of
the U.S. Environmental Protection
Agency Region 10, et al.,

                     Defendants.



     ORDER RE DEFENDANTS’ MOTION FOR REMAND WITH VACATUR

       Before the Court at Docket 103 is Defendants’ Motion for Remand with

Vacatur. The only remaining plaintiff in these consolidated cases, Trout

Unlimited, filed a response in support of the motion at Docket 105. Intervenor-

Defendants, the State of Alaska and Pebble Limited Partnership, each filed

responses to the motion in which they did not oppose remand with vacatur, but

sought for the Court to impose a timetable for the remand proceedings and retain

jurisdiction pending the remand (Dockets 104, 106). Defendants replied at

Docket 108.1

       For the reasons set forth in support of the motion, at Dockets 108 and 103,

the motion is hereby GRANTED. The Court finds that neither the retention of


1See also Notice Regarding Finality of Judgment at Docket 107. Plaintiffs Bristol Bay Economic
Development Corporation, et al., in Case No. 3:19-cv-00265 and SalmonState, et al., in Case
No. 3:19-cv-00267 did not appeal this Court’s order granting EPA’s motion to dismiss. See
Final Judgment at Docket 76. However, the order of consolidation at Docket 16 was never
rescinded.
Case No. 3:19-cv-000265-SLG, BBEDC, et al. v. Pirzadeh, et al. (Consolidated)
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jurisdiction pending remand nor the establishment of an administrative timetable

by the Court is warranted in this case. Therefore, IT IS ORDERED that the

withdrawal of the Proposed Determination at issue in this case, see Notification

of Decision to Withdraw Proposed Determination to Restrict the Use of an Area

and a Disposal Site; Pebble Deposit Area, Southwest Alaska, 84 Fed. Reg.

45,749 (Aug. 30, 2019), is VACATED and the matter is REMANDED to the U.S.

Environmental Protection Agency for further agency proceedings. The Clerk of

Court is directed to enter a Final Judgment in accordance with this order and

close these consolidated cases. IT IS SO ORDERED.

       DATED this 29th day of October, 2021, at Anchorage, Alaska.

                                                  /s/ Sharon L. Gleason
                                                  UNITED STATES DISTRICT JUDGE




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